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                                                                                   May 11, 2022

Via ECF
Hon. Marsha J. Pechman
United States Courthouse
700 Stewart Street, Suite 14229
Seattle, WA 98101-9906

        Re: Bungie, Inc. v. Does 1-10, 2:22-cv-00371 (MJP)

Judge Pechman,

        I write, as directed by the Court, to provide a report on Google’s lack of compliance
with the previously issued 512(h) subpoena and the status of Plaintiff’s attempts to obtain
such compliance. Counsel for Bungie met and conferred with counsel for Google on April 8,
2022, and Google conveyed that: (1) they will not comply with the 512(h) subpoena, because
they do not believe 512(h) authorizes a subpoena to identify individuals who send fraudulent
take-down notices; and (2) they would comply with a Rule 45 subpoena.

          In the interests of judicial economy, and particularly given the precedent establishing
that leave to serve a Rule 45 subpoena is appropriate here, Youngblood v. 5 Unknown Cim Corr.
Officers, 536 F. App’x 758 (9th Cir. 2013), and indeed the lack of any opposition to our
request for leave, we did not proceed with a motion to compel compliance pending the
expected grant of leave to serve a Rule 45 subpoena. In light of the Court’s refusal to
authorize a Rule 45 subpoena, and unless the Court changes its mind, we will have no choice
but to proceed with a motion to compel.

        Annexed hereto as Exhibit A is a copy of a letter we received from Google on April
13, 2022, reflecting their view of the meet and confer. When we contacted Google about the
denial of our motion for leave to serve a Rule 45 subpoena, they suggested we attach it to
this submission, believing “it would give the court a better understanding of the current
status and would show that you have made the ‘good faith efforts’ the court seeks. Perhaps
then the court would grant leave to issue a Rule 45 subpoena, saving us all from pursuing the
same issue in another venue.” As that correspondence from Google indicates, Google shares
our hope that the Court will grant us leave to serve a Rule 45 subpoena, and thereby avoid
motion practice. While we are confident that we would prevail over Google’s objections, it
seems to be a significant waste of judicial and party resources to litigate that issue in the
Northern District of California when a Rule 45 subpoena would moot the dispute entirely.
We thus respectfully ask that the Court consider this a renewal of our request for leave, and
grant that leave.

                                                Respectfully submitted,
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                                      KAMERMAN, UNCYK, SONIKER, & KLEIN, P.C.

                                      By: /s/ Akiva M. Cohen
                                      Akiva M. Cohen
                                      For Plaintiff


cc. All counsel of record [via ECF]
